AO 106A (08/18) ApplicationCase
                           for a Warrant by Telephone or Other Reliable
                                  5:23-mj-00364-ATB                     Electronic1Means
                                                                 Document            Filed   06/28/23 Page 1 of 9

                                         UNITED STATES DISTRICT COURT
                                                                           for the                            U.S. DISTRICT COURT – N.D. OF N.Y.

                                                               Northern District of New York                           FILED
                    In the Matter of the Search of                           )
   (Briefly describe the property to be searched or identify the person by   )                                     Jun 28 - 2023
                             name and address)                               )     Case No. 5:23-mj-364 (ATB)
 United States Postal Service (“USPS”) Priority Mail Express                 )                                      John M. Domurad, Clerk

 parcel bearing tracking number EI543529902US, more                          )
 thoroughly described in Attachment A.                                       )
          APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property (identify the person or describe the property to be searched and
give its location):
 See Attachment A

located in the Northern District of New York, there is now concealed (identify the person or describe the property to be seized):
 See Attachment B

         The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
            ☒ evidence of a crime;
            ☒ contraband, fruits of crime, or other items illegally possessed;
            ☒ property designed for use, intended for use, or used in committing a crime;
            ☐ a person to be arrested or a person who is unlawfully restrained.

        The search is related to a violation of:
       Code Section                                                             Offense Description
       21 U.S.C. § 841(a)(1)                                                    Possession with intent to distribute
       21 U.S.C. § 844(a)                                                       Possession of a controlled substance
       21 U.S.C. § 846                                                          Attempt or conspiracy to commit said offenses
        The application is based on these facts:
       See attached affidavit
         ☒ Continued on the attached sheet.
         ☐ Delayed notice of ___days (give exact ending date if more than 30 days: ________) is requested under 18 U.S.C. § 3103a, the
         basis of which is set forth on the attached sheet.


                                                                                                            Applicant’s signature

                                                                                                  William M. Price, U.S. Postal Inspector
                                                                                                          Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by Telephone (specify reliable electronic means).


 Date:        6/28/2023
                                                                                                                 Judge’s signature

 City and state:    Syracuse, NY                                                              Hon. Andrew T. Baxter, U.S. Magistrate Judge
                                                                                                               Printed name and title
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                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, William M. Price, being duly sworn, depose and say as follows:

                                        INTRODUCTION

       1.      I am a United States Postal Inspector currently assigned to Syracuse, New York. I

have been so employed since July 2020. I am assigned to various types of investigations, including

the use of the U.S. mail to transmit dangerous items. I am responsible for investigations involving

the illegal use of the U.S. mail in the trafficking of illegal narcotics, controlled substances, or

proceeds derived from the sale of controlled substances, in violation of Title 21, United States

Code, Sections 841 and 846. These investigations have involved the mailing of fentanyl,

methamphetamine, MDMA, marijuana, cocaine, and other controlled and non-controlled

prescription narcotics. I also have been involved in the investigation of the mailing of U.S.

currency as payment for controlled substances and illegal narcotics sent illegally through the U.S.

mails, or as payment for such shipments. Prior to being employed by the United States Postal

Inspection Service (“USPIS”), I was employed as a Special Agent with the United States Drug

Enforcement Administration (“DEA”) from 2015 to 2020. During my time as a DEA Special

Agent, I was responsible for the investigation of large-scale controlled substance conspiracies,

including many investigations with connections to transnational criminal organizations. These

investigations have involved the distribution and/or transportation of methamphetamine, MDMA,

marijuana, cocaine, heroin, steroids, fentanyl, synthetic drugs, and other controlled and non-

controlled prescription drugs, using traditional investigatory methods, electronic surveillance, and

court-ordered wiretaps. I have participated in the execution of several search and seizure warrants,

including the searches of residences, business offices, and vehicles. As a federal agent, your affiant



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is authorized to investigate violations of laws of the United States and to execute warrants issued

under the authority of the United States.

       2.        This affidavit supports an application to search United States Postal Service

(“USPS”) Priority Mail Express parcel bearing tracking number EI543529902US, more

thoroughly described in Attachment A (hereinafter referred to as the “Subject Parcel”) for

evidence, fruits, and instrumentalities of violations of Title 21, United States Code, Sections

841(a)(1), 844(a) and 846 (possession with intent to distribute and possession of a controlled

substance, and the attempt or conspiracy to commit said offenses), more thoroughly described in

Attachment B. The Subject Parcel is currently in the custody of USPIS, located at 5640 East Taft

Road, Syracuse, NY 13220 (“Syracuse Office”).

       3.        The information contained in this affidavit is based on my knowledge, my

observations during the course of this investigation, information conveyed to me by other law

enforcement officers, and on my examination and review of physical evidence obtained during the

investigation.

       4.        This affidavit contains only that information necessary to establish probable cause

in support of an application for a search warrant authorizing a search of the Subject Parcel. This

affidavit does not include all the facts known to the government about the investigation.

                                       PROBABLE CAUSE

       5.        On June 26, 2023, I was reviewing USPS records for parcels destined for the

Northern District of New York, looking for characteristics consistent with parcels containing

controlled substances being illegally sent through the USPS. I noticed the Subject Parcel because

it had been mailed from Arizona, had been paid for in cash, was mailed using Priority Mail Express




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service, and was a single retail transaction. 1 I observed that the Subject Parcel was mailed from

Tucson, Arizona, and was destined for 337 Garfield Avenue, Syracuse, New York 13205 (“337

GARFIELD AVE”). I conducted additional review of the parcel because the parcel was mailed

from Tucson, Arizona, an area in Southern Arizona known to be a controlled substance source

location for methamphetamine and fentanyl-laced counterfeit prescription pills, among other

controlled substances. In the last two years, I have personally seized, or been involved in the

seizure of, several parcels which contained fentanyl-laced counterfeit prescription pills and which

were mailed from Arizona to Upstate New York. The sender also did not request that a signature

be required from the recipient at the time of delivery, consistent in my training and experience

with an illegal controlled substance transaction. People shipping illegal goods, such as controlled

substances, frequently decline the signature-on-delivery service because it requires the recipient

to take personal possession of the package in the presence of a Postal worker. I also know through




1
  I am aware, through my training and experience, that it is common for those mailing illegal drugs
to use Priority Mail Express. This is true for many reasons, including because:

a.    Items sent via Priority Mail Express are considered First Class Mail and cannot be
examined without a federal search warrant;

b.     Priority Mail Express is generally expected to be delivered in 1-2 business days. This
ensures the drug trafficker of expedited delivery;

c.      Various dispatch times (times which a mailed item is transported to the next destination)
are available to customers, upon request, and this gives the mailer the opportunity to have some
control over the arrival of the mailed item;

d.     Individuals desiring to either send or receive controlled substances and payments for these
substances through the U.S. Mail can do so without having to provide identification, thereby
reducing the possibility of revealing their true identity; and

e.      Priority Mail Express parcels include individual parcel tracking numbers, which allow the
sender, and/or intended recipient, to track the travel of the parcel after it is posted by telephone or
internet.

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my training and experience that people who illegally mail controlled substances often pay postage

fees using cash to avoid detection by law enforcement through the use of credit card or debit card

information.

       6.      On the same date, I reviewed USPS business records, which indicated that USPS

had attempted to deliver the Subject Parcel on June 22, 2023, but did not do so due to no authorized

recipient available to accept the Subject Parcel. I further observed multiple inquiries regarding the

delivery status of the Subject Parcel by someone on June 22, 2023, and June 23, 2023.

Additionally, I observed that an inquiry was possibly made from somewhere in the country of

Mexico. Through my training and experience, I know that methamphetamine and counterfeit

prescription pills are often produced and/or smuggled through Mexico into the United States. The

controlled substances are then transported to their ultimate destination within United States via

automobile, commercial shipping, or via USPS.

       7.      On June 27, 2023, I obtained the Subject Parcel from the Colvin-Elmwood Post

Office. I spoke with the Post Office Manager, who advised that the Subject Parcel had been stored

at the Post Office since the attempted delivery on June 22 and that the address had received a notice

that someone needed to pick up the Subject Parcel from the Post Office.

       8.      I observed that the Subject Parcel was a white USPS Mailing Box, bearing the

return address Juan Maria, 815 N Main Ave, Tucson, Arizona 85745 (“815 N MAIN AVE”) and

was addressed to Sarah Maria, 337 Garfield Ave, APT 1, Syracuse, New York 13205 (“337

GARFIELD AVE”). I observed that the Subject Parcel appeared to have excessive tape used to

close it. In my training and experience, I know that narcotics traffickers will often use excessive

tape to secure a parcel containing controlled substances. This is done to limit the amount of air,

and subsequent odor, that escapes the parcel, in an attempt to defeat a narcotics detection canine.



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       9.      USPIS personnel conducted a CLEAR 2 database query and a USPS database query

but could not associate the name Juan Maria to 815 N MAIN AVE. USPIS personnel conducted a

second query of CLEAR and USPS databases regarding 337 GARFIELD AVE. USPIS personnel

could not associate the names Juan Maria or Sarah Maria with either address. Through my training

and experience, I am aware that it is common for people mailing controlled substances to use

fictitious names to avoid detection by law enforcement. I believe that, in this instance, the return

address name of Juan Maria is an attempt to disguise the sender’s true name and to avoid placing

the mailer’s true name or identity on the parcel in case the parcel is intercepted by law enforcement.

Further, I believe the delivery address names of Sarah Maria is fictitious and designed to disguise

the recipient’s true name. Additionally, I believe using the same last name is also an attempt to

make the parcel appear it is being sent to and from family members, in order to make the parcel

appear more legitimate and to avoid scrutiny by law enforcement. Finally, I observed that the

return address zip code is listed incorrectly. The proper zip code for 815 N MAIN AVE should be

85705. I believe that the application of the wrong zip code for the return address further shows the

true sender’s lack of association with the return address.

       10.     On the same date, at approximately 2:35 p.m., the Subject Parcel was subject to a

canine exam by United States Border Patrol Agent/Homeland Security Investigations (HSI) Task

Force Officer (TFO) Javier Lorenzo and his canine partner “Ekym.” TFO Lorenzo informed me

that “Ekym” did not alert to the Subject Parcel. Through my previous use of “Ekym”, I know that

he is trained in detecting the presence of the odors of marijuana, cocaine, heroin,

methamphetamines, ecstasy, and their precursors. However, “Ekym” is not trained to detect the



2
 CLEAR is a fee-based database of information commonly used by law enforcement to confirm
names, addresses, telephone numbers, and other personal identifiers.

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presence of fentanyl and I am not aware of any narcotics detection canines to which I have access

that are so trained. I know that many narcotics detection canines are not trained to detect the

presence of fentanyl due to the risk it presents to the canine and the handler if either is exposed to

any significant quantity of fentanyl. Additionally, I am personally aware of at least two recent

instances where parcels with attributes similar to those of the Subject Parcel, were found to contain

narcotics when searched pursuant to a federal search warrant, despite a narcotics detection canine

not alerting to the parcel.

                                             CONCLUSION

        11.     The above facts establish probable cause to believe that the Subject Parcel contains

evidence, fruits, or instrumentalities of a violation of Title 21, United States Code, Sections

841(a)(1), 844(a) and 846 (possession with intent to distribute and possession of a controlled

substance, and the attempt or conspiracy to commit said offenses).

                                               Attested to by the applicant by telephone in
                                               accordance with the requirements of rule 4.1 of the
                                               federal rules of criminal procedure.


                                                _________________________________
                                                William M. Price
                                                U.S. Postal Inspector

I, the Honorable Andrew T. Baxter, United States Magistrate Judge, hereby acknowledge that this
affidavit was attested by the affiant by telephone on June 28, 2023, in accordance with Rule 4.1 of
the Federal Rules of Criminal Procedure.


___________________________
Hon. Andrew T. Baxter
United States Magistrate Judge




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                                    ATTACHMENT A
                                 ITEM TO BE SEARCHED

       The item to be searched is depicted below and is a United States Postal Service Priority
Mail Express parcel bearing tracking number EI 543 529 902 US. The parcel is further described
as a white USPS Priority Mail box, bearing the return address Juan Maria, 815 N Main Ave,
Tucson, AZ 85745, and addressed to Sarah Maria, 337 Garfield Ave, Apt 1, Syracuse, NY 13205.
The parcel measures approximately 7.25” x 7.25” x 7.25.”




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                                      ATTACHMENT B
                                    ITEMS TO BE SEIZED

       Evidence, fruits, and instrumentalities of violations of Title 21, United States Code, §§
841(a)(1), 844(a) and 846 (possession with intent to distribute and possession of a controlled
substance, and the attempt or conspiracy to commit said offenses):

           1. Controlled substances, drug paraphernalia, and associated packaging;

           2. Proceeds of controlled substance purchases or sales, to include currency, money

               orders, bank checks, and monetary instruments;

           3. Transaction records regarding the purchase, sale, or transfer of controlled

               substances, to include receipts, bills of sale, and other indicia of purchase/sale;

           4. Indicia of who sent the parcel;

           5. Indicia of the intended recipient of the parcel.




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